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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA             )
                                     )
      v.                             )    CRIMINAL ACTION NO.
                                     )      2:07cr61-MHT
JOY DEANNE THOMAS                    )         (WO)

                           OPINION AND ORDER

      Defendant Joy Deanne Thomas’s trial is currently set

for    January     5,    2009.       On   December     19,    2008,       the

government filed a motion to continue.                Pursuant to this

court’s order to show cause, Thomas filed a response in

opposition to the government’s motion on December 29,

2008.      For the reasons discussed below, the government’s

motion will be denied.

      The court has wide discretion in ruling on motions to

continue.       United States v. Warren, 772 F.2d 827, 837

(11th Cir. 1985) (“The granting of continuances is left

to the sound discretion of the trial judge, and [the]

decision will not be set aside on appeal absent a showing

of a clear abuse of that discretion.”).                  The government
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correctly notes, however, that this court is limited by

the requirements of the Speedy Trial Act, 18 U.S.C.

§ 3161.    In considering a motion to continue, the court

is thus to consider a number of factors.                   See United

States v. Williams, 314 F.3d 552, 556 n.2 (11th Cir.

2002) (quoting 18 U.S.C. § 3161(h)(7)(B)).

    The government first argues that a continuance is

warranted so that Thomas can be tried with her co-

defendants. The court recognizes the government’s strong

general interest in trying co-defendants together.                     Cf.

United States v. Cobb, 185 F.3d 1193, 1197 (11th Cir.

1999) ("[B]ecause of the well-settled principle that it

is preferred that persons who are charged together should

also be tried together, particularly in conspiracy cases,

the denial of a motion for severance will be reversed

only for an abuse of discretion.").                   The government

claims that Thomas’s co-defendants are currently being

detained   outside     the    country     and   are    awaiting        the

completion of proceedings that “should” result in their



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extradition “in the very near future.”                 Doc. No. 311 at

2.*

      However, as Thomas points out, the government offers

no assurance when (or, with any certainty, if) the co-

defendants will actually be extradited.                   Moreover, the

government has been aware of this situation for some

time,    given    that    the   superseding      indictment      and      the

arrest of the co-defendants both occurred several months



    *    The court notes that it might be within its
discretion to grant a motion to continue on these grounds
alone.   The statute excludes: “A reasonable period of
delay when the defendant is joined for trial with a
codefendant as to whom the time for trial has not run and
no motion for severance has been granted.” 18 U.S.C. §
3161(h)(2)(6); see also United States v. Murray, 154 Fed.
Appx. 740, 746 n.8 (11th Cir. 2005) (holding that there
was no violation of the statute where the district court
granted a lengthy continuance of over two years because
co-defendant fought extradition to the United States);
cf. Henderson v. United States, 476 U.S. 321, 322 n.2
(1986) (noting that co-defendants usually adopt the time
of the latest co-defendant for Speedy Trial purposes).
However, that the opposite ruling would not be an abuse
of discretion says nothing about whether, given the
particular circumstances of this case, the court has the
discretion to deny a motion to continue.      Indeed, the
very goal of granting district judges wide discretion in
these matters is to ensure that cases before them are
resolved in a timely, efficient, and just manner.

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prior to the government’s motion to continue.                  Indeed,

the government waited until December 19--five and one

half    business    days     before     trial--to      move     for    a

continuance.       Such tardiness is unfair to Thomas, who

expected to go to trial on January 5 and has prepared for

trial on that date.

       It is clear that the government’s strong general

interest in trying co-defendants together is subject to

this court’s broad discretion, when considering a motion

to continue, to balance the interests of justice in each

individual case.     As a result, the government argues that

the interests of justice support a continuance, even at

this late hour.     First the government notes that the case

is complex, and that it would be a waste of resources to

try the defendants separately.            Second, the government

claims that a continuance would allow the parties to

continue “already extensive” plea discussions.

       Thomas makes a number of arguments in response,

including that she is 7 ½ months pregnant.              Delaying her



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trial    briefly   would   likely     mean     that   she   could      not

effectively participate in her defense, and a longer

delay    obviously   implicates       other    important    interests

associated with delaying criminal proceedings against any

defendant.      Thomas also argues that she is only mentioned

in two counts of the indictment.              Thus, the trial might

actually be much less complicated if Thomas were tried

separately.      Thomas also argues that separate trials may

reduce    the   chances    of   prejudice      resulting     from      the

actions of other defendants and reduce the likelihood of

jury confusion given the complexity of the counts with

which the other defendants are charged.

    In accordance with the factors listed in Williams and

in § 3161(h)(7)(B), the court should first note that

neither party asserts that a failure to continue would

likely make a later trial impossible or result in a

miscarriage of justice.         Moreover, neither party argues

that anything about the case makes them unable adequately

to be prepared by January 5.           Moreover, the court notes



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that Thomas, in strongly opposing the motion to continue,

has significantly undermined the government’s argument

that it would be in the interests of justice for both

parties to have more time to negotiate.                Indeed, Thomas

certainly has an interest in not having the trial hang

over her head.

    The court cannot, before trial and without more

information and expertise, presume to referee the dispute

between Thomas and the government over whether the trial

would be more or less confusing, prejudicial, or wasteful

if tried separately or together.              The court does note,

however, that the government’s casual assertion of these

arguments concerning the interests of justice in a few

sentences is not significant enough to warrant a perhaps

indefinite     continuance     close    to    the    eve    of    trial--a

continuance     opposed    strongly      by    Thomas.            This   is

particularly true here because, even though Thomas is now

charged   in    a   superseding        indictment,         this    larger,

multiple-defendant      case    involving      the    same        allegedly



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criminal scheme has been before this court for some time.

At least two other defendants in the case--each of whom

is listed as a co-conspirator in Thomas’s indictment--

have already had separate jury trials in this court.

Thus, it does not appear as if other defendants in this

larger case are necessarily being tried together.                       The

government unsuccessfully attempted a similar last-minute

continuance     in   those    proceedings       relying     on   similar

arguments.      The history of this case suggests, however,

that trying the defendants individually has not posed any

particular problems for the government, and the court

once again notes that the history of this case suggests

that    any   hypothetical      trial      of   Thomas    and    her    co-

defendants is unlikely to take place in the near future.

       Because Thomas is prepared for trial and eager to

commence trial on the date first set in October by court

order,    and   because      the   government       has    not   offered

convincing      arguments      concerning          the    need    for     a

continuance,     this   court      finds    that    the   interests      of



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justice   weigh   in   favor    of     conducting    the   trial,      as

planned, on January 5.

                                 +++

    Accordingly, it is ORDERED that the government’s

motion to continue trial (Doc. No. 311) is denied.

    DONE, this the 30th day of December, 2008.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
